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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA

 JESLYN POPE, individually, and on
 behalf of all others similarly situated,
                                            CIVIL ACTION
                      Plaintiff,
                                            No.
      v.
                                            COMPLAINT - CLASS ACTION
 NEXTGEN HEALTHCARE, INC.,

                      Defendant.            JURY TRIAL DEMANDED


            PLAINTIFF’S ORIGINAL CLASS ACTION COMPLAINT

      Plaintiff Jeslyn Pope (“Plaintiff”) brings this Class Action Petition against

NextGen Healthcare, Inc. (“NextGen” or “Defendant”), individually and on behalf

of all others similarly situated (“Class Members”), and alleges, upon personal

knowledge as to her own actions and her counsel’s investigations, and upon

information and belief as to all other matters, as follows:

      NATURE OF THE ACTION

      1.       Plaintiff brings this class action against Defendant for its failure to

   properly secure and safeguard personally identifiable information (“PII”)

   including, but not limited to, Plaintiff’s and Class Members’ names, addresses,




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dates of birth, Social Security numbers, (collectively, “Private Information” or

“PII”).

   2.     Defendant NextGen “provides electronic health records and practice

management solutions to doctors and medical professionals.” NextGen

experienced a data breach between March 19, 2023, and April 14, 2023, in which

unauthorized third-parties were able to access certain files on its network.

   3.     During the course of its business operations, Defendant acquired,

collected, utilized, and derived a benefit from Plaintiff’s and Class Members’

Private Information. Therefore, Defendant owed and otherwise assumed

statutory, regulatory, and common law duties and obligations, including to keep

Plaintiff’s and Class Members’ Private Information confidential, safe, secure,

and protected from the type of unauthorized access, disclosure, and theft that

occurred in the Data Breach.

   4.     On or about March 30, 2023, Defendant was “alerted to suspicious

activity on [its] NextGen Office System. An investigation determined that there

was a cybersecurity incident between March 29, 2023, and April 14, 2023, in

which unauthorized third parties accessed Plaintiff’s and Class Members’ Private

Information stored on Defendant’s network (the “Data Breach”).



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   5.     Defendant launched an investigation into the Data Breach and

confirmed that an unauthorized actor accessed its system and certain files

containing Plaintiff’s and Class Members’ Private Information, including, but not

limited to, the following: name, Social Security numbers, dates of birth, and home

addresses.

   6.     The Notice of Data Incident sent to Plaintiff states the following:

          What Happened? On March 30, 2023, we were alerted to
          suspicious activity on our NextGen Office system. In
          response, we launched an investigation with the help of
          third-party forensic experts. We also took measures to
          contain the incident, including resetting passwords, and
          contacted law enforcement.

          Based on our in-depth investigation to date, supported by
          our external experts, it appears that an unknown third-
          party gained unauthorized access to a limited set of
          electronically stored personal information between March
          29, 2023 and April 14, 2023. As a result of our detailed
          analysis of the information impacted, we recently
          determined that certain of your personal information was
          included in the electronic data accessed during the
          incident. . . .

   7.     Based on the Notice of Data Breach Letter, Defendant admits that

Plaintiff’s and Class Members’ Private Information was unlawfully accessed by

a third party.




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   8.    Plaintiff brings this class action lawsuit on behalf of those similarly

situated to address Defendant’s inadequate safeguarding of Class Members’

Private Information that it collected and maintained, and for failing to provide

adequate notice to Plaintiff and other Class Members that their information had

been subject to the unauthorized access of an unknown third party and precisely

what specific type of information was accessed.

   9.    Upon information and belief, Defendant maintained the Private

Information in a negligent manner. In particular, the Private Information was

maintained on computer systems and networks that were in a condition

vulnerable to cyberattack. Upon information and belief, the mechanism of the

Data Breach and potential for improper disclosure of Plaintiff’s and Class

Members’ Private Information was a known risk to Defendant; and, thus,

Defendant was on notice that failing to take appropriate protective measures

would expose and increase the risk that the Private Information could be

compromised and stolen.

   10.   Hackers can offer for sale the unencrypted, unredacted Private

Information to criminals. The exposed Private Information of Plaintiff and Class

Members can, and likely will, be sold repeatedly on the dark web.



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   11.    Plaintiff and Class Members now face a current and ongoing risk of

identity theft, which is heightened here by the loss of Social Security numbers –

the gold standard for identity thieves.

   12.    This Private Information was compromised due to Defendant’s

negligent and/or careless acts and omissions and the failure to protect the Private

Information of Plaintiff and Class Members.

   13.    As a result of this data breach, Plaintiff’s and Class Members’ Private

Information has been compromised, and they are, and continue to be, at

significant risk of identity theft and various other forms of personal, social, and

financial harm. The risk will remain for their respective lifetimes.

   14.    While many details of the Data Breach remain in the exclusive control

of Defendant, upon information and belief, Defendant breached its duties and

obligations by failing, in one or more of the following ways: (1) failing to design,

implement, monitor, and maintain reasonable network safeguards against

foreseeable threats; (2) failing to design, implement, and maintain reasonable

data retention policies; (3) failing to adequately train staff on data security; (4)

failing to comply with industry-standard data security practices; (5) failing to

warn Plaintiff and Class Members of Defendant’s inadequate data security



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practices; (6) failing to encrypt or adequately encrypt the Private Information; (7)

failing to recognize or detect that its network had been compromised and

accessed in a timely manner to mitigate the harm; (8) failing to utilize widely

available software able to detect and prevent this type of attack, and (9) otherwise

failing to secure the hardware using reasonable and effective data security

procedures free of foreseeable vulnerabilities and data security incidents.

   15.    As a result of Defendant’s unreasonable and inadequate data security

practices that resulted in the Data Breach, Plaintiff and Class Members are at a

current and ongoing risk of identity theft and have suffered numerous actual and

concrete injuries and damages, including: (a) invasion of privacy; (b) financial

“out of pocket” costs incurred mitigating the materialized risk and imminent

threat of identity theft; (c) loss of time and loss of productivity incurred

mitigating the materialized risk and imminent threat of identity theft risk; (d)

financial “out of pocket” costs incurred due to actual identity theft; (e) loss of

time incurred due to actual identity theft; (f) loss of time due to increased spam

and targeted marketing emails; (g) the loss of benefit of the bargain (price

premium damages); (h) diminution of value of their Private Information; (i)

anxiety, annoyance and nuisance, and (j) the continued risk to their Private



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Information, which remains in the possession of Defendant, and which is subject

to further breaches, so long as Defendant fails to undertake appropriate and

adequate measures to protect Plaintiff’s and Class Members’ Private Information.

   16.   Plaintiff seeks to remedy these harms on behalf of herself and all

similarly situated individuals whose Private Information was accessed during the

Data Breach. Plaintiff seeks remedies including, but not limited to, compensatory

damages, reimbursement of out-of-pocket costs, future costs of identity theft

monitoring, and injunctive relief including improvements to Defendant’s data

security systems, and future annual audits.

   17.   Accordingly, Plaintiff brings this action against Defendant seeking

redress for its unlawful conduct, and asserting claims for: (i) negligence, (ii)

negligence per se, (iii) invasion of privacy; (iv) declaratory judgment.

                                   PARTIES

   18.   Plaintiff Jeslyn Pope is a Citizen of Tennessee residing in Davidson

County, Maine. Plaintiff received a letter dated April 28, 2023, from Defendant

NextGen Healthcare, Inc. notifying Plaintiff that Defendant’s network had been

accessed and Plaintiff’s Private Information was involved in the Data Breach.




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   19.      Defendant NextGen Healthcare, Inc. is a for profit corporation

organized under the laws of Delaware and headquartered in Atlanta, Georgia.

NextGen’s principal place of business is located at 3565 Piedmont Road

Northeast, Building 6, Suite 700, Atlanta, GA 30305. Defendant can be served

through its registered agent, CT Corporation System, 289 S. Culver St.,

Lawrenceville, GA 30046.

                         JURISDICTION AND VENUE

   20.      This Court has subject matter jurisdiction over this action under the

Class Action Fairness Act, 28 U.S.C. § 1332(d)(2) because Plaintiff and at least

one member of the Class, as defined below, is a citizen of a different state than

Defendant, there are more than 100 putative class members, and the amount in

controversy exceeds $5 million, exclusive of interest and costs. Thus, minimal

diversity exists under 28 U.S.C. § 1332(d)(2)(A).

   21.      This Court has personal jurisdiction over Defendant because it operates

and is headquartered in this District and conducts substantial business in this

District.

   22.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1)

because a substantial part of the events giving rise to this action occurred in this



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    District. Moreover, Defendant is based in this District, maintains Plaintiff’s and

    Class Members’ Private Information in this District, and has caused harm to

    Plaintiff and Class Members in this District.

                             FACTUAL ALLEGATIONS

                                   The Data Breach

       23.   On or about March 30, 2023, Defendant became aware that its network

    may have been breached.

       24.   Following a forensic investigation, Defendant then discovered that

    unknown cybercriminals had accessed a set of electronically stored personal

    information stored on its network between March 29, 2023, and April 14, 2023.

       25.   Defendant’s Notice of Data Breach admits that Plaintiff’s and Class

    Members’ Private Information was accessed without authorization.1

                          Plaintiff Jeslyn Pope’s Experience

       26.   As a requisite to receiving medical services from Defendant, Plaintiff

    provided her Private Information to Defendant and trusted that the information




1
 April 28, 2023, Data Breach Letter from NextGen Healthcare, Inc. (attached as
Exhibit 1).

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would be safeguarded according to state and federal law. Upon receipt, Private

Information was entered and stored on Defendant’s network and systems.

   27.     Plaintiff is very careful about sharing her sensitive Private Information.

Plaintiff has never knowingly transmitted unencrypted sensitive Private

Information.

   28.     Plaintiff stores any documents containing her sensitive Private

Information in a safe and secure location or destroys the documents. Moreover,

Plaintiff diligently chooses unique usernames and passwords for her various

online accounts. Had she known Defendant failed to follow basic industry

security standards and failed to implement systems to protect her Private

Information, she would not have provided that information to Defendant.

   29.     The Notice Letter dated April 28, 2023, from Defendant NextGen

notified Plaintiff that its network had been accessed and Plaintiff’s Private

Information may have been involved in the Data Breach, which included

Plaintiff’s name, address, Social Security number, and date of birth.

   30.     Furthermore, Defendant directed Plaintiff to be vigilant and to take

certain steps to protect her Private Information and otherwise mitigate her

damages.



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   31.    As a result of the Data Breach, Plaintiff heeded Defendant’s warning

and spent time dealing with the consequences of the Data Breach, which includes

time spent verifying the legitimacy of the Notice of Data Breach and self-

monitoring her accounts and credit reports to ensure no fraudulent activity has

occurred. This time has been lost forever and cannot be recaptured. Moreover,

this time was spent at Defendant’s direction by way of the Data Breach notice

where Defendant advised Plaintiff to mitigate her damages by, among other

things, monitoring her accounts for fraudulent activity.

   32.    Even with the best response, the harm caused to Plaintiff cannot be

undone.

   33.    Plaintiff further suffered actual injury in the form of damages to and

diminution in the value of Plaintiff’s Private Information—a form of intangible

property that Plaintiff entrusted to Defendant, which was compromised in and as

a result of the Data Breach.

   34.    She also lost her benefit of the bargain by paying for medical services

that failed to provide the data security that was promised.




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   35.   Plaintiff suffered lost time, annoyance, interference, and inconvenience

as a result of the Data Breach and has anxiety and increased concerns for the loss

of her privacy.

   36.   Plaintiff has suffered imminent and impending injury arising from the

present and ongoing risk of fraud, identity theft, and misuse resulting from her

Private Information being placed in the hands of unauthorized third parties and

possibly criminals.

   37.   Future identity theft monitoring is reasonable and necessary and such

services will include future costs and expenses.

   38.   Plaintiff has a continuing interest in ensuring that Plaintiff’s Private

Information, which, upon information and belief, remains backed up in

Defendant’s possession, is protected and safeguarded from future breaches.

                      The Data Breach Was Foreseeable

   39.   At all relevant times, Defendant knew, or reasonably should have

known, of the importance of safeguarding the PII of Plaintiff and Class Members

and the foreseeable consequences that would occur if Defendant’s data security

system was breached, including, specifically, the significant costs that would be

imposed on Plaintiff and Class Members as a result of a breach.



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       40.    Defendant was, or should have been, fully aware of the unique type and

    the significant volume of data on Defendant’s network, amounting to potentially

    millions of individuals’ detailed, personal information and, thus, the significant

    number of individuals who would be harmed by the exposure of the unencrypted

    data.

       41.    As explained by the Federal Bureau of Investigation, “[p]revention is

    the most effective defense against ransomware and it is critical to take

    precautions for protection.” 2

       42.    Defendant’s data security obligations were particularly important given

    the substantial increase in cyberattacks and/or data breaches in the healthcare

    industry preceding the date of the breach.

       43.    In 2021, a record 1,862 data breaches occurred, resulting in

    approximately 293,927,708 sensitive records being exposed, a 68% increase

    from 2020. Of the 1,862 recorded data breaches, 330 of them, or 17.7% were in

    the medical or healthcare industry. 3 The 330 reported breaches in 2021 exposed


2
  See How to Protect Your Networks from RANSOMWARE, at 3, available at
https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-
cisos.pdf/view (last accessed Aug. 23, 2021).
3
  See 2021 Data Breach Annual Report, 6 (ITRC, Jan. 2022) available at
https://notified.idtheftcenter.org/s/.

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nearly 30 million sensitive records (28,045,658), compared to only 306 breaches

that exposed nearly 10 million sensitive records (9,700,238) in 2020.

   44.    In light of recent high profile cybersecurity incidents at other healthcare

partner and provider companies, including American Medical Collection Agency

(25 million patients, March 2019), University of Washington Medicine (974,000

patients, December 2018), Florida Orthopedic Institute (640,000 patients, July

2020), Wolverine Solutions Group (600,000 patients, September 2018), Oregon

Department of Human Services (645,000 patients, March 2019), Elite

Emergency Physicians (550,000 patients, June 2020), Magellan Health (365,000

patients, April 2020), and BJC Health System (286,876 patients, March 2020),

Defendant knew or should have known that its electronic records would be

targeted by cybercriminals.

   45.    Indeed, cyberattacks have become so notorious that the Federal Bureau

of Investigation (“FBI”) and U.S. Secret Service have issued a warning to

potential targets, so they are aware of, and prepared for, a potential attack. As one

report explained, “[e]ntities like smaller municipalities and hospitals are




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    attractive to ransomware criminals… because they often have lesser IT defenses

    and a high incentive to regain access to their data quickly.”4

       46.   In fact, according to the cybersecurity firm Mimecast, 90% of

    healthcare organizations experienced cyberattacks between 2019 and 2020. 5

       47.   Therefore, the increase in such attacks, and the attendant risk of future

    attacks, was widely known to the public and to anyone in Defendant’s industry,

    including Defendant.

                                 Value of PII and PHI 6

       48.   The PII of consumers remains of high value to criminals, as evidenced

    by the prices offered through the dark web. Numerous sources cite dark web

    pricing for stolen identity credentials. For example, personal information can be

    sold at a price ranging from $40 to $200, and bank details have a price range of



4
  FBI, Secret Service Warn of Targeted, Law360 (Nov.18,2019),
https://www.law360.com/articles/1220974/fbisecret-service-warn-of-targeted-
ransomware
5
  See Maria Hernandez, Iowa City Hospital Suffers Phishing Attack, Security
Magazine (Nov. 23, 2020), https://www.securitymagazine.com/articles/93988-
iowa-city-hospital-suffers-phishing-attack.
6
  While Defendant states that Protected Health Information (“PHI”) was not
involved in this breach, the presence of PHI on Defendant’s network is relevant in
assessing Defendant’s duty of care in protecting Plaintiff’s and Class Members’
Private Information.

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    $50 to $200. 7 According to the Dark Web Price Index for 2021, payment card

    details for an account balance up to $1,000 have an average market value of $150,

    credit card details with an account balance up to $5,000 have an average market

    value of $240, stolen online banking logins with a minimum of $100 on the

    account have an average market value of $40, and stolen online banking logins

    with a minimum of $2,000 on the account have an average market value of $120.8

    Criminals can also purchase access to entire company data breaches from $900

    to $4,500.9

       49.   Based on the foregoing, the information compromised in the Data

    Breach is significantly more valuable than the loss of, for example, credit card

    information in a retailer data breach because, there, victims can cancel or close

    credit and debit card accounts.




7
  Your personal data is for sale on the dark web. Here’s how much it costs, Digital
Trends, Oct. 16, 2019, available at:
https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-
how-much-it-costs/.
8
  Dark Web Price Index 2021, Zachary Ignoffo, March 8, 2021, available at:
https://www.privacyaffairs.com/dark-web-price-index-2021/
9
  In the Dark, VPNOverview, 2019, available at
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/.

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        50.    This data demands a much higher price on the black market. Martin

     Walter, senior director at cybersecurity firm RedSeal, explained, “Compared to

     credit card information, personally identifiable information…[is] worth more

     than 10x on the black market.”10

        51.    Among other forms of fraud, identity thieves may obtain driver’s

     licenses, government benefits, medical services, and housing, or even give false

     information to police.

        52.    The fraudulent activity resulting from the Data Breach may not come

     to light for years.

        53.    Theft of PHI is also gravely serious: “[a] thief may use your name or

     health insurance numbers to see a doctor, get prescription drugs, file claims with

     your insurance provider, or get other care. If the thief’s health information is

     mixed with yours, your treatment, insurance and payment records, and credit

     report may be affected.”




10
  Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen
Credit Card Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-
stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last accessed Aug.
23, 2021).

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   54.   There is also a robust legitimate market for the type of sensitive

information at issue here. Marketing firms utilize personal information to target

potential customers, and an entire economy exists related to the value of personal

data.

   55.   Drug manufacturers, medical device manufacturers, pharmacies,

hospitals and other healthcare service providers often purchase PII and PHI on

the black market for the purpose of target-marketing their products and services

to the physical maladies of the data breach victims themselves. Insurance

companies purchase and use wrongfully disclosed PHI to adjust their insureds’

medical insurance premiums.

   56.   Moreover, there may be a time lag between when harm occurs versus

when it is discovered, and also between when PII is stolen and when it is used.

According to the U.S. Government Accountability Office (“GAO”), which

conducted a study regarding data breaches:

   [L]aw enforcement officials told us that in some cases, stolen
   data may be held for up to a year or more before being used to
   commit identity theft. Further, once stolen data have been sold
   or posted on the Web, fraudulent use of that information may
   continue for years. As a result, studies that attempt to measure




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        the harm resulting from data breaches cannot necessarily rule out
        all future harm. 11

        57.   As such, future monitoring of financial and personal records is

     reasonable and necessary well beyond the one of protection offered by

     Defendant.

     Defendant Failed to Properly Protect Plaintiff’s and Class Members’ Private

                                       Information

        58.   Defendant could have prevented this Data Breach by properly securing

     and encrypting the systems containing the Private Information of Plaintiff and

     Class Members. Alternatively, Defendant could have destroyed the data,

     especially for individuals with whom it had not had a relationship for a period of

     time.

        59.   Defendant’s negligence in safeguarding the PII of Plaintiff and Class

     Members is exacerbated by the repeated warnings and alerts directed to

     companies like Defendant to protect and secure sensitive data they possess.




11
  Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last accessed Aug. 23, 2021).

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        60.   Despite the prevalence of public announcements of data breach and

     data security compromises, Defendant failed to take appropriate steps to protect

     the PII of Plaintiff and Class Members from being compromised.

        61.   The Federal Trade Commission (“FTC”) defines identity theft as “a

     fraud committed or attempted using the identifying information of another person

     without authority.” The FTC describes “identifying information” as “any name

     or number that may be used, alone or in conjunction with any other information,

     to identify a specific person,” including, among other things, “[n]ame, Social

     Security number, date of birth, official State or government issued driver’s

     license or identification number, alien registration number, government passport

     number, employer or taxpayer identification number.”12

        62.   The ramifications of Defendant’s failure to keep secure the PII of

     Plaintiff and Class Members are long lasting and severe. Once PII is stolen,

     fraudulent use of that information and damage to victims may continue for years.




12
  See generally Fighting Identity Theft With the Red Flags Rule: A How-To Guide
for Business, FED. TRADE COMM., https://www.ftc.gov/business-
guidance/resources/fighting-identity-theft-red-flags-rule-how-guide-business (last
accessed May 1, 2023).

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   63.   To prevent and detect unauthorized cyber-attacks, Defendant could and

should have implemented, as recommended by the United States Government,

the following measures:

   • Implement an awareness and training program. Because end users
     are targets, employees and individuals should be aware of the threat
     of ransomware and how it is delivered.
   • Enable strong spam filters to prevent phishing emails from reaching
     the end users and authenticate inbound email using technologies like
     Sender Policy Framework (SPF), Domain Message Authentication
     Reporting and Conformance (DMARC), and DomainKeys Identified
     Mail (DKIM) to prevent email spoofing.
   • Scan all incoming and outgoing emails to detect threats and filter
     executable files from reaching end users.
   • Configure firewalls to block access to known malicious IP addresses.
   • Patch operating systems, software, and firmware on devices.
     Consider using a centralized patch management system.
   • Set anti-virus and anti-malware programs to conduct regular scans
     automatically.
   • Manage the use of privileged accounts based on the principle of least
     privilege: no users should be assigned administrative access unless
     absolutely needed; and those with a need for administrator accounts
     should only use them when necessary.
   • Configure access controls—including file, directory, and network
     share permissions—with least privilege in mind. If a user only needs
     to read specific files, the user should not have write access to those
     files, directories, or shares.
   • Disable macro scripts from office files transmitted via email.
     Consider using Office Viewer software to open Microsoft Office
     files transmitted via email instead of full office suite applications.
   • Implement Software Restriction Policies (SRP) or other controls to
     prevent programs from executing from common ransomware
     locations, such as temporary folders supporting popular Internet


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             browsers or compression/decompression programs, including the
             AppData/LocalAppData folder.
         •   Consider disabling Remote Desktop protocol (RDP) if it is not being
             used.
         •   Use application whitelisting, which only allows systems to execute
             programs known and permitted by security policy.
         •   Execute operating system environments or specific programs in a
             virtualized environment.
         •   Categorize data based on organizational value and implement
             physical and logical separation of networks and data for different
             organizational units.13

         64.       To prevent and detect cyber-attacks, including the cyber-attack that

      resulted in the Data Breach, Defendant could and should have implemented, as

      recommended by the United States Cybersecurity & Infrastructure Security

      Agency, the following measures:

         • Update and patch your computer. Ensure your applications and
           operating systems (OSs) have been updated with the latest patches.
           Vulnerable applications and OSs are the target of most ransomware
           attacks…
         • Use caution with links and when entering website addresses. Be
           careful when clicking directly on links in emails, even if the sender appears
           to be someone you know. Attempt to independently verify website
           addresses (e.g., contact your organization’s helpdesk, search the internet
           for the sender organization’s website or the topic mentioned in the email).
           Pay attention to the website addresses you click on, as well as those you
           enter yourself. Malicious website addresses often appear almost identical
           to legitimate sites, often using a slight variation in spelling or a different
           domain (e.g., .com instead of .net)…


13
     Id. at 3-4.

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        • Open email attachments with caution. Be wary of opening email
          attachments, even from senders you think you know, particularly when
          attachments are compressed files or ZIP files.
        • Keep your personal information safe. Check a website’s security to
          ensure the information you submit is encrypted before you provide it….
        • Verify email senders. If you are unsure whether or not an email is
          legitimate, try to verify the email’s legitimacy by contacting the sender
          directly. Do not click on any links in the email. If possible, use a previous
          (legitimate) email to ensure the contact information you have for the sender
          is authentic before you contact them.
        • Inform yourself. Keep yourself informed about recent cybersecurity
          threats and up to date on ransomware techniques. You can find information
          about known phishing attacks on the Anti-Phishing Working Group
          website. You may also want to sign up for CISA product notifications,
          which will alert you when a new Alert, Analysis Report, Bulletin, Current
          Activity, or Tip has been published.
        • Use and maintain preventative software programs. Install antivirus
          software, firewalls, and email filters—and keep them updated—to reduce
          malicious network traffic…14

        65.     To prevent and detect cyber-attacks, including the cyber-attack that

     resulted in the Data Breach, Defendant could and should have implemented, as

     recommended by the Microsoft Threat Protection Intelligence Team, the

     following measures:

        Secure internet-facing assets

              • Apply latest security updates
              • Use threat and vulnerability management
14
  See Security Tip (ST19-001) Protecting Against Ransomware (original release
date Apr. 11, 2019), available at https://us-cert.cisa.gov/ncas/tips/ST19-001 (last
accessed Aug. 23, 2021).

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         • Perform regular audit; remove privileged credentials;

      Thoroughly investigate and remediate alerts

         • Prioritize and treat commodity malware infections as potential full
           compromise;

      Include IT Pros in security discussions

         • Ensure collaboration among [security operations], [security admins],
           and [information technology] admins to configure servers and other
           endpoints securely;

      Build credential hygiene

         • Use [multifactor authentication] or [network level authentication] and
           use strong, randomized, just-in-time local admin passwords

      Apply principle of least-privilege

         •   Monitor for adversarial activities
         •   Hunt for brute force attempts
         •   Monitor for cleanup of Event Logs
         •   Analyze logon events

      Harden infrastructure

         •   Use Windows Defender Firewall
         •   Enable tamper protection
         •   Enable cloud-delivered protection
         •   Turn on attack surface reduction rules and [Antimalware Scan
             Interface] for Office [Visual Basic for Applications].15

15
  See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020),
available at https://www.microsoft.com/security/blog/2020/03/05/human-

                                        24
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      66.    Moreover, given that Defendant was storing the PII and PHI of Plaintiff

   and Class Members, Defendant could and should have implemented all of the

   above measures to prevent and detect cyberattacks.

      67.    The occurrence of the Data Breach indicates that Defendant failed to

   adequately implement one or more of the above measures to prevent

   cyberattacks, resulting in the Data Breach and the exposure of the PII of Plaintiff

   and Class Members.

      68.    As a result of computer systems in need of security upgrades and

   inadequate procedures for handling email phishing attacks, viruses, malignant

   computer code, and hacking attacks, Defendant negligently and unlawfully failed

   to safeguard Plaintiff’s and Class Members’ Private Information.

      69.    Because Defendant failed to properly protect and safeguard Plaintiff’s

   and Class Members’ Private Information, an unauthorized third party was able to

   access Defendant’s network, and access Defendant’s database and system

   configuration files and exfiltrate that data.

                  Defendant Failed to Comply with FTC Guidelines


operated-ransomware-attacks-a-preventable-disaster/ (last accessed Aug. 23,
2021).

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        70.   The Federal Trade Commission (“FTC”) has promulgated numerous

     guides for businesses which highlight the importance of implementing reasonable

     data security practices. According to the FTC, the need for data security should

     be factored into all business decision making.

        71.   In 2016, the FTC updated its publication, Protecting Personal

     Information: A Guide for Business, which established cyber-security guidelines

     for businesses. The guidelines note that businesses should protect the personal

     patient information that they keep; properly dispose of personal information that

     is no longer needed; encrypt information stored on computer networks;

     understand their network’s vulnerabilities; and implement policies to correct any

     security problems.16

        72.   The guidelines also recommend that businesses use an intrusion

     detection system to expose a breach as soon as it occurs; monitor all incoming

     traffic for activity indicating someone is attempting to hack the system; watch for




16
  Protecting Personal Information: A Guide for Business, Federal Trade
Commission (2016). Available at https://www.ftc.gov/business-
guidance/resources/protecting-personal-information-guide-business (last accessed
May 16, 2023).

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large amounts of data being transmitted from the system; and have a response

plan ready in the event of a breach.

   73.    The FTC further recommends that companies not maintain PII longer

than is needed for authorization of a transaction; limit access to sensitive data;

require complex passwords to be used on networks; use industry-tested methods

for security; monitor for suspicious activity on the network; and verify that third-

party service providers have implemented reasonable security measures.

   74.    The FTC has brought enforcement actions against businesses for failing

to adequately and reasonably protect patient data, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to

confidential consumer data as an unfair act or practice prohibited by Section 5 of

the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting

from these actions clarify the measures businesses take to meet their data security

obligations.

   75.    Defendant failed to properly implement basic data security practices.

   76.    Defendant’s failure to employ reasonable and appropriate measures to

protect against unauthorized access to Plaintiff’s and Class Members’ Private




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Information constitutes an unfair act or practice prohibited by Section 5 of the

FTC Act, 15 U.S.C. § 45.

   77.    Defendant was always fully aware of its obligation to protect the Private

Information of Plaintiff and Class Members. Defendant was also aware of the

significant repercussions that would result from its failure to do so.

             Defend ant Failed to Comply with Industry Standards

   78.    As shown above, experts studying cyber security routinely identify

healthcare providers as being particularly vulnerable to cyberattacks because of

the value of the PII and PHI which they collect and maintain.

   79.    Several best practices have been identified that at a minimum should be

implemented by healthcare service providers like Defendant, including, but not

limited to: educating all employees; strong passwords; multi-layer security,

including firewalls, anti-virus, and anti-malware software; encryption, making

data unreadable without a key; multi-factor authentication; backup data; and

limiting which employees can access sensitive data.

   80.    Other best cybersecurity practices that are standard in the healthcare

industry include installing appropriate malware detection software; monitoring

and limiting the network ports; protecting web browsers and email management



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systems; setting up network systems such as firewalls, switches and routers;

monitoring and protection of physical security systems; protection against any

possible communication system; and training staff regarding critical points.

   81.   Defendant failed to meet the minimum standards of any of the

following frameworks: the NIST Cybersecurity Framework Version 1.1

(including without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-

6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1,

DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for Internet

Security’s Critical Security Controls (CIS CSC), which are all established

standards in reasonable cybersecurity readiness.

   82.   The foregoing frameworks are existing and applicable industry

standards in the healthcare industry, and Defendant failed to comply with these

accepted standards, thereby opening the door to and causing the Data Breach.

   83.   Upon information and belief, Defendant failed to comply with one or

more of the foregoing industry standards.

                  Defendant’s Negligent Acts and Breaches

   84.   Defendant participated and controlled the process of gathering the

Private Information from Plaintiff and Class Members.



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   85.      Defendant therefore assumed and otherwise owed duties and

obligations to Plaintiff and Class Members to take reasonable measures to protect

the information, including the duty of oversight, training, instruction, testing of

the data security policies and network systems. Defendant breached these

obligations to Plaintiff and Class Members and/or were otherwise negligent

because they failed to properly implement data security systems and policies for

its health providers network that would adequately safeguarded Plaintiff’s and

Class Members’ Sensitive Information. Upon information and belief,

Defendant’s unlawful conduct included, but is not limited to, one or more of the

following acts and/or omissions:

         a) Failing to design and maintain an adequate data security system to

            reduce the risk of data breaches and protect Plaintiff’s and Class

            Members Sensitive Information;

         b) Failing to properly monitor its data security systems for data security

            vulnerabilities and risk;

         c) Failing to test and assess the adequacy of its data security system;

         d) Failing to develop adequate training programs related to the proper

            handling of emails and email security practices;



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 e) Failing to put into develop and place uniform procedures and data

    security protections for its healthcare network;

 f) Failing to adequately fund and allocate resources for the adequate

    design, operation, maintenance, and updating necessary to meet

    industry standards for data security protection;

 g) Failing to ensure or otherwise require that it was compliant with FTC

    guidelines for cybersecurity;

 h) Failing to ensure or otherwise require that it was adhering to one or

    more of industry standards for cybersecurity discussed above;

 i) Failing to implement or update antivirus and malware protection

    software in need of security updating;

 j) Failing to require encryption or adequate encryption on its data

    systems;

 k) Otherwise negligently and unlawfully failing to safeguard Plaintiff’s

    and Class Members’ Private Information provided to Defendant, which

    in turn allowed cyberthieves to access its IT systems.

            COMMON INJURIES & DAMAGES




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   86.    As result of Defendant’s ineffective and inadequate data security

practices, Plaintiff and Class Members now face a present and ongoing risk of

fraud and identity theft.

   87.    Due to the Data Breach, and the foreseeable consequences of Private

Information ending up in the possession of criminals, the risk of identity theft to

Plaintiff and Class Members has materialized and is imminent, and Plaintiff and

Class Members have all sustained actual injuries and damages, including: (a)

invasion of privacy; (b) “out of pocket” costs incurred mitigating the materialized

risk and imminent threat of identity theft; (c) loss of time and loss of productivity

incurred mitigating the materialized risk and imminent threat of identity theft

risk; (d) “out of pocket” costs incurred due to actual identity theft; (e) loss of time

incurred due to actual identity theft; (f) loss of time due to increased spam and

targeted marketing emails; (g) the loss of benefit of the bargain (price premium

damages); (h) diminution of value of their Private Information; and (i) the

continued risk to their Private Information, which remains in Defendant’s

possession, and which is subject to further breaches, so long as Defendant fails

to undertake appropriate and adequate measures to protect Plaintiff’s and Class

Members’ Private Information.



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  The Risk of Identity Theft to Plaintiff and Class Members Is Present and

                                     Ongoing

   88.    The link between a data breach and the risk of identity theft is simple

and well established. Criminals acquire and steal Private Information to monetize

the information. Criminals monetize the data by selling the stolen information on

the black market to other criminals who then utilize the information to commit a

variety of identity theft related crimes discussed below.

   89.    Because a person’s identity is akin to a puzzle with multiple data points,

the more accurate pieces of data an identity thief obtains about a person, the easier

it is for the thief to take on the victim’s identity – or track the victim to attempt

other hacking crimes against the individual to obtain more data to perfect a crime.

   90.    For example, armed with just a name and date of birth, a data thief can

utilize a hacking technique referred to as “social engineering” to obtain even

more information about a victim’s identity, such as a person’s login credentials

or Social Security number. Social engineering is a form of hacking whereby a

data thief uses previously acquired information to manipulate and trick

individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails.



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     Data breaches are often the starting point for these additional targeted attacks on

     the victims.

        91.    The dark web is an unindexed layer of the internet that requires special

     software or authentication to access. 17 Criminals in particular favor the dark web

     as it offers a degree of anonymity to visitors and website publishers. Unlike the

     traditional or ‘surface’ web, dark web users need to know the web address of the

     website they wish to visit in advance. For example, on the surface web, the CIA’s

     web address is cia.gov, but on the dark web the CIA’s web address is

     ciadotgov4sjwlzihbbgxnqg3xiyrg7so2r2o3lt5wz5ypk4sxyjstad.onion.18                This

     prevents dark web marketplaces from being easily monitored by authorities or

     accessed by those not in the know.

        92.    A sophisticated black market exists on the dark web where criminals

     can buy or sell malware, firearms, drugs, and frequently, personal and medical

     information like the PII at issue here. 19 The digital character of PII stolen in data


17
   What Is the Dark Web?, Experian, available at
https://www.experian.com/blogs/ask-experian/what-is-the-dark-web/ (last accessed
May 16, 2023).
18
   Id.
19
   What is the Dark Web? – Microsoft 365, available at
https://www.microsoft.com/en-us/microsoft-365-life-hacks/privacy-and-
safety/what-is-the-dark-web (last accessed May 16, 2023).

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     breaches lends itself to dark web transactions because it is immediately

     transmissible over the internet and the buyer and seller can retain their

     anonymity. The sale of a firearm or drugs on the other hand requires a physical

     delivery address. Nefarious actors can readily purchase usernames and passwords

     for online streaming services, stolen financial information and account login

     credentials, and Social Security numbers, dates of birth, and medical

     information.20 As Microsoft warns “[t]he anonymity of the dark web lends itself

     well to those who would seek to do financial harm to others.” 21

        93.    Social Security numbers, for example, are among the worst kinds of

     personal information to have stolen because they may be put to numerous serious

     fraudulent uses and are difficult for an individual to change. The Social Security

     Administration stresses that the loss of an individual’s Social Security number,

     as is the case here, can lead to identity theft and extensive financial fraud:

        A dishonest person who has your Social Security number can use it to
        get other personal information about you. Identity thieves can use your
        number and your good credit to apply for more credit in your name.
        Then, they use the credit cards and don’t pay the bills, it damages your

20
   Id.; What Is the Dark Web?, Experian, available at
https://www.experian.com/blogs/ask-experian/what-is-the-dark-web/
21
   What is the Dark Web? – Microsoft 365, available at
https://www.microsoft.com/en-us/microsoft-365-life-hacks/privacy-and-
safety/what-is-the-dark-web

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        credit. You may not find out that someone is using your number until
        you’re turned down for credit, or you begin to get calls from unknown
        creditors demanding payment for items you never bought. Someone
        illegally using your Social Security number and assuming your identity
        can cause a lot of problems.22

        What’s more, it is no easy task to change or cancel a stolen Social
        Security number. An individual cannot obtain a new Social Security
        number without significant paperwork and evidence of actual misuse.
        In other words, preventive action to defend against the possibility of
        misuse of a Social Security number is not permitted; an individual must
        show evidence of actual, ongoing fraud activity to obtain a new number.

        94.   Even then, new Social Security number may not be effective, as “[t]he

     credit bureaus and banks are able to link the new number very quickly to the old

     number, so all of that old bad information is quickly inherited into the new Social

     Security number.” 23

        95.   Identity thieves can also use Social Security numbers to obtain a

     driver’s license or official identification card in the victim’s name but with the

     thief’s picture; use the victim’s name and Social Security number to obtain



22
   Social Security Administration, Identity Theft and Your Social Security Number,
available at: https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed May 16,
2023).
23
   Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce
Back, NPR (Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-
by-anthem-s-hackers-has-millions-worrying-about-identity-theft (last visited Sep
13, 2022).

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     government benefits; or file a fraudulent tax return using the victim’s

     information. In addition, identity thieves may obtain a job using the victim’s

     Social Security number, rent a house or receive medical services in the victim’s

     name, and may even give the victim’s personal information to police during an

     arrest resulting in an arrest warrant being issued in the victim’s name. And the

     Social Security Administration has warned that identity thieves can use an

     individual’s Social Security number to apply for additional credit lines.24

        96.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019

     Internet Crime Report, Internet-enabled crimes reached their highest number of

     complaints and dollar losses that year, resulting in more than $3.5 billion in losses

     to individuals and business victims. 25

        97.    Further, according to the same report, “rapid reporting can help law

     enforcement stop fraudulent transactions before a victim loses the money for

     good.” 26 Defendant did not rapidly report to Plaintiff and the Class that their

     Private Information had been stolen.


24
   Identity Theft and Your Social Security Number, Social Security Administration,
1 (2018), https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Sep. 13, 2022).
25
   See https://www.fbi.gov/news/stories/2019-internet-crime-report-released-
021120 (last accessed October 21, 2022).
26
   Id.

                                               37
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   98.   Victims of identity theft also often suffer embarrassment, blackmail, or

harassment in person or online, and/or experience financial losses resulting from

fraudulently opened accounts or misuse of existing accounts.

   99.   In addition to out-of-pocket expenses that can exceed thousands of

dollars and the emotional toll identity theft can take, some victims have to spend

a considerable time repairing the damage caused by the theft of their PII. Victims

of new account identity theft will likely have to spend time correcting fraudulent

information in their credit reports and continuously monitor their reports for

future inaccuracies, close existing bank/credit accounts, open new ones, and

dispute charges with creditors.

   100. Further complicating the issues faced by victims of identity theft, data

thieves may wait years before attempting to use the stolen PII. To protect

themselves, Plaintiff and Class Members will need to remain vigilant against

unauthorized data use for years or even decades to come.

   101. The Federal Trade Commission (“FTC”) has also recognized that

consumer data is a new and valuable form of currency. In an FTC roundtable

presentation, former Commissioner Pamela Jones Harbour stated that “most

consumers cannot begin to comprehend the types and amount of information



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     collected by businesses, or why their information may be commercially valuable.

     Data is currency. The larger the data set, the greater potential for analysis and

     profit.”27

        102. The FTC has also issued numerous guidelines for businesses that

     highlight the importance of reasonable data security practices. The FTC has noted

     the need to factor data security into all business decision-making. According to

     the FTC, data security requires: (1) encrypting information stored on computer

     networks; (2) retaining payment card information only as long as necessary; (3)

     properly disposing of personal information that is no longer needed; (4) limiting

     administrative access to business systems; (5) using industry-tested and accepted

     methods for securing data; (6) monitoring activity on networks to uncover

     unapproved activity; (7) verifying that privacy and security features function

     properly; (8) testing for common vulnerabilities; and (9) updating and patching

     third-party software.28



27
   Statement of FTC Commissioner Pamela Jones Harbour (Remarks Before FTC
Exploring Privacy Roundtable),
http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf (last visited
May 28, 2015).
28
   See generally https://www.ftc.gov/business-guidance/resources/protecting-
personal-information-guide-business.

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        103. According to the FTC, unauthorized PII disclosures are extremely

     damaging to consumers’ finances, credit history and reputation, and can take

     time, money and patience to resolve the fallout. The FTC treats the failure to

     employ reasonable and appropriate measures to protect against unauthorized

     access to confidential consumer data as an unfair act or practice prohibited by

     Section 5(a) of the FTC Act.29

        104. Defendant’s failure to properly notify Plaintiff and Class Members of

     the Data Breach exacerbated Plaintiff’s and Class Members’ injury by depriving

     them of the earliest ability to take appropriate measures to protect their PII and

     take other necessary steps to mitigate the harm caused by the Data Breach.

             Loss of Time to Mitigate the Risk of Identity Theft and Fraud

        105. As a result of the recognized risk of identity theft, when a Data Breach

     occurs, and an individual is notified by a company that their Private Information

     was compromised, as in this Data Breach, the reasonable person is expected to

     take steps and spend time to address the dangerous situation, learn about the

     breach, and otherwise mitigate the risk of becoming a victim of identity theft of


29
   See e.g., https://www.ftc.gov/news-events/news/press-
releases/2016/07/commission-finds-labmd-liable-unfair-data-security-practices
(last accessed: October 21, 2022).

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fraud. Failure to spend time taking steps to review accounts or credit reports could

expose the individual to greater financial harm – yet, the resource and asset of

time has been lost.

   106. Thus, due to the actual and imminent risk of identity theft, Plaintiff and

Class Members must, as Defendant’s Notice instructs them, “remain vigilant by

reviewing [their] account statements and credit reports closely.”

   107. Plaintiff and Class Members have spent, and will spend additional time

in the future, on a variety of prudent actions, such as placing “freezes” and

“alerts” with credit reporting agencies, contacting financial institutions, closing

or modifying financial accounts, changing passwords, reviewing and monitoring

credit reports and accounts for unauthorized activity—which may take years to

discover and detect—and filing police reports.

   108. Plaintiff’s mitigation efforts are consistent with the U.S. Government

Accountability Office, who released a report in 2007 regarding data breaches

(“GAO Report”) in which it noted that victims of identity theft will face




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     “substantial costs and time to repair the damage to their good name and credit

     record.”30

        109. Plaintiff’s mitigation efforts are also consistent with the steps that FTC

     recommends that data breach victims take to protect their personal and financial

     information after a data breach, including: contacting one of the credit bureaus to

     place a fraud alert (and consider an extended fraud alert that lasts for seven years

     if someone steals their identity), reviewing their credit reports, contacting

     companies to remove fraudulent charges from their accounts, placing a credit

     freeze on their credit, and correcting their credit reports.31

        110. A study by Identity Theft Resource Center shows the multitude of

     harms caused by fraudulent use of personal and financial information: 32




30
   See United States Government Accountability Office, GAO-07-737, Personal
Information: Data Breaches Are Frequent, but Evidence of Resulting Identity Theft
Is Limited; However, the Full Extent Is Unknown (June 2007),
https://www.gao.gov/new.items/d07737.pdf.
31
   See Federal Trade Commission, IdentityTheft.com,
https://www.identitytheft.gov/Steps (last visited July 7, 2022).
32
   “Credit Card and ID Theft Statistics” by Jason Steele, 10/24/2017, at:
https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-
statistics-1276.php (last visited Sep 13, 2022).

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        111. In the event that Plaintiff and Class Members experience actual identity

     theft and fraud, the United States Government Accountability Office released a

     report in 2007 regarding data breaches (“GAO Report”) in which it noted that

     victims of identity theft will face “substantial costs and time to repair the damage

     to their good name and credit record.”33 Indeed, the FTC recommends that

     identity theft victims take several steps and spend time to protect their personal

     and financial information after a data breach, including contacting one of the

     credit bureaus to place a fraud alert (consider an extended fraud alert that lasts


33
  See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is
Limited; However, the Full Extent Is Unknown,” p. 2, U.S. Government
Accountability Office, June 2007, https://www.gao.gov/new.items/d07737.pdf (last
visited Sep. 13, 2022) (“GAO Report”).

                                            43
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     for 7 years if someone steals their identity), reviewing their credit reports,

     contacting companies to remove fraudulent charges from their accounts, placing

     a credit freeze on their credit, and correcting their credit reports. 34




                      Diminution of Value of the Private Information

        112. PII is a valuable property right.35 Its value is axiomatic, considering the

     value of Big Data in corporate America and the consequences of cyber thefts

     include heavy prison sentences. Even this obvious risk to reward analysis

     illustrates beyond doubt that Private Information has considerable market value.

        113. For example, drug manufacturers, medical device manufacturers,

     pharmacies, hospitals and other healthcare service providers often purchase

     PII/PHI on the black market for the purpose of target-marketing their products

     and services to the physical maladies of the data breach victims themselves.



34
  See https://www.identitytheft.gov/Steps (last visited Sep. 13, 2022).
35
  See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of
Personally Identifiable Information (“PII”) Equals the “Value" of Financial Assets,
15 Rich. J.L. & Tech. 11, at *3-4 (2009) (“PII, which companies obtain at little
cost, has quantifiable value that is rapidly reaching a level comparable to the value
of traditional financial assets.”) (citations omitted).

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        114. Sensitive Private Information can sell for as much as $363 per record

     according to the Infosec Institute. 36

        115. Medical information is especially valuable to identity thieves.

     According to account monitoring company LogDog, medical data was selling on

     the dark web for $50 and up. 37

        116. An active and robust legitimate marketplace for Private Information

     also exists. In 2019, the data brokering industry was worth roughly $200 billion.38

     In fact, the data marketplace is so sophisticated that consumers can actually sell

     their non-public information directly to a data broker who in turn aggregates the

     information and provides it to marketers or app developers.39 40 Consumers who

     agree to provide their web browsing history to the Nielsen Corporation can

     receive up to $50.00 a year.41



36
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec
(July 27, 2015), https://resources.infosecinstitute.com/topic/hackers-selling-
healthcare-data-in-the-black-market/ (last visited Sep. 13, 2022).
37
   https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-
sometimes-crush-hospitals/#content (last visited Sep 13, 2022).
38
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers
39
   https://datacoup.com/
40
   https://digi.me/what-is-digime/
41
   Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
https://computermobilepanel.nielsen.com/ui/US/en/faqen.html.

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   117. As a result of the Data Breach, Plaintiff’s and Class Members’ Private

Information, which has an inherent market value in both legitimate and dark

markets, has been damaged and diminished in its value by its unauthorized and

potential release onto the Dark Web, where it may soon be available and holds

significant value for the threat actors.

   118. To date, Defendant has done little to provide Plaintiff and Class

Members with relief for the damages they have suffered as a result of the Data

Breach – Defendant has only offered 24 months of inadequate identity

monitoring services through Experian’s Identity Works, despite Plaintiff and

Class Members being at risk of identity theft and fraud for the foreseeable future.

Defendant has not offered any other relief or protection.

   119. The 24 months of credit monitoring offered to persons whose Private

Information was compromised is wholly inadequate as it fails to provide for the

fact that victims of data breaches and other unauthorized disclosures commonly

face multiple years of ongoing identity theft and financial fraud. Defendant also

places the burden squarely on Plaintiff and Class Members by requiring them to

expend time signing up for that service, as opposed to automatically enrolling all

victims of this Data Breach.



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   120. Given the type of targeted attack in this case and sophisticated criminal

activity,   the type of Private Information, and the modus operandi of

cybercriminals, there is a strong probability that entire batches of stolen

information have been placed, or will be placed, on the black market/dark web

for sale and purchase by criminals intending to utilize the Private Information for

identity theft crimes – e.g., opening bank accounts in the victims’ names to make

purchases or to launder money; file false tax returns; take out loans or lines of

credit; or file false unemployment claims.

   121. It must be noted there may be a substantial time lag – measured in years

– between when harm occurs versus when it is discovered, and also between

when Private Information and/or financial information is stolen and when it is

used. According to the U.S. Government Accountability Office, which conducted

a study regarding data breaches:

   [L]aw enforcement officials told us that in some cases, stolen data may
   be held for up to a year or more before being used to commit identity
   theft. Further, once stolen data have been sold or posted on the Web,
   fraudulent use of that information may continue for years. As a result,
   studies that attempt to measure the harm resulting from data breaches
   cannot necessarily rule out all future harm.

See GAO Report, at p. 29.




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        122. Such fraud may go undetected until debt collection calls commence

     months, or even years, later. An individual may not know that his or her Social

     Security Number was used to file for unemployment benefits until law

     enforcement notifies the individual’s employer of the suspected fraud. Fraudulent

     tax returns are typically discovered only when an individual’s authentic tax return

     is rejected.

        123. Furthermore, the information accessed and disseminated in the Data

     Breach is significantly more valuable than the loss of, for example, credit card

     information in a retailer data breach, where victims can easily cancel or close

     credit and debit card accounts. 42 The information disclosed in this Data Breach

     is impossible to “close” and difficult, if not impossible, to change (such as Social

     Security numbers).

        124. Consequently, Plaintiff and Class Members are at a present and ongoing

     risk of fraud and identity theft for many years into the future.



42
  See Jesse Damiani, Your Social Security Number Costs $4 On The Dark Web,
New Report Finds, FORBES (Mar. 25, 2020),
https://www.forbes.com/sites/jessedamiani/2020/03/25/your-social-security-
number-costs-4-on-the-dark-web-new-report-finds/?sh=6a44b6d513f1 (last
accessed May 16, 2023).


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   125. The retail cost of credit monitoring and identity theft monitoring can

cost around $200 a year per Class Member. This is a reasonable and necessary

cost to protect Class Members from the risk of identity theft that arose from

Defendant’s Data Breach. This is a future cost for a minimum of five years that

Plaintiff and Class Members would not need to bear but for Defendant’s failure

to safeguard their Private Information.

   Injunctive Relief Is Necessary to Protect Against Future Data Breaches

   126. Moreover, Plaintiff and Class Members have an interest in ensuring that

their Private Information, which is believed to remain in the possession of

Defendant, is protected from further breaches by the implementation of security

measures and safeguards, including but not limited to, making sure that the

storage of data or documents containing Private Information is not accessible

online and that access to such data is password protected.

                     CLASS ACTION ALLEGATIONS

   127. Plaintiff brings this nationwide class action on behalf of herself and on

behalf of others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and

23(c)(4) of the Federal Rules of Civil Procedure.




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   128. The Nationwide Class that Plaintiff seeks to represent is defined as

follows:

           All persons whose Private Information was actually or
           potentially accessed or acquired during the Data Breach for
           which Defendant NextGen Healthcare, Inc. provided notice to
           Plaintiff and other Class Members beginning on or around April
           28, 2023 (the “Class”).

   129. Excluded from the Class are the following individuals and/or entities:

Defendant and Defendant’s parents, subsidiaries, affiliates, officers and directors,

and any entity in which Defendant has a controlling interest; all individuals who

make a timely election to be excluded from this proceeding using the correct

protocol for opting out; any and all federal, state or local governments, including

but not limited to their departments, agencies, divisions, bureaus, boards,

sections, groups, counsels and/or subdivisions; and all judges assigned to hear

any aspect of this litigation, as well as their immediate family members.

   130. Plaintiff reserves the right to modify or amend the definition of the

proposed classes before the Court determines whether certification is appropriate.

   131. Numerosity, Fed. R. Civ. P. 23(a)(1): Class Members are so numerous

that joinder of all members is impracticable. Upon information and belief, there

are in excess of 105,094 individuals whose Private Information may have been



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     improperly accessed in the Data Breach, and each Class is apparently identifiable

     within Defendant’s records.43

        132. Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and

     fact common to the Classes exist and predominate over any questions affecting

     only individual Class Members. These include:

        a) Whether and to what extent Defendant had a duty to protect the
           Private Information of Plaintiff and Class Members;
        b) Whether Defendant had duties not to disclose the Private
           Information of Plaintiff and Class Members to unauthorized third
           parties;
        c) Whether Defendant had duties not to use the Private Information of
           Plaintiff and Class Members for non-business purposes;
        d) Whether Defendant failed to adequately safeguard the Private
           Information of Plaintiff and Class Members;
        e) Whether and when Defendant actually learned of the Data Breach;
        f) Whether Defendant adequately, promptly, and accurately informed
           Plaintiff and Class Members that their PII had been compromised;
        g) Whether Defendant violated the law by failing to promptly notify
           Plaintiff and Class Members that their PII had been compromised;
        h) Whether Defendant failed to implement and maintain reasonable
           security procedures and practices appropriate to the nature and
           scope of the information compromised in the Data Breach;
        i) Whether Defendant adequately addressed and fixed the
           vulnerabilities which permitted the Data Breach to occur;
        j) Whether Defendant engaged in unfair, unlawful, or deceptive
           practices by failing to safeguard the Private Information of Plaintiff
           and Class Members;


43
  Breach Portal, U.S. Dept of Health and Hum. Servs.,
https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last visited May 3, 2023).

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   k) Whether Defendant violated the consumer protection statutes
      invoked herein;
   l) Whether Plaintiff and Class Members are entitled to actual,
      consequential, and/or nominal damages as a result of Defendant’s
      wrongful conduct;
   m) Whether Plaintiff and Class Members are entitled to restitution as a
      result of Defendant’s wrongful conduct; and
   n) Whether Plaintiff and Class Members are entitled to injunctive relief
      to redress the imminent and currently ongoing harm faced as a result
      of the Data Breach.

   133. Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of

those of other Class Members because all had their Private Information

compromised as a result of the Data Breach, due to Defendant’s misfeasance.

   134. Predominance. Defendant has engaged in a common course of conduct

toward Plaintiff and Class Members, in that all the Plaintiff’s and Class

Members’ data was stored on the same computer systems and unlawfully

accessed in the same way. The common issues arising from Defendant’s conduct

affecting Class Members set out above predominate over any individualized

issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy. Defendant’s policies challenged herein

apply to and affect Class Members uniformly and Plaintiff’s challenge of these

policies hinges on Defendant’s conduct with respect to the Class as a whole, not

on facts or law applicable only to Plaintiff.

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   135. Adequacy of Representation, Fed. R. Civ. P. 23(a)(4): Plaintiff will

fairly and adequately represent and protect the interests of the Class Members in

that Plaintiff has no disabling conflicts of interest that would be antagonistic to

those of the other Members of the Class. Plaintiff seeks no relief that is

antagonistic or adverse to the Members of the Class and the infringement of the

rights and the damages Plaintiff has suffered are typical of other Class Members.

Plaintiff has also retained counsel experienced in complex class action litigation,

and Plaintiff intends to prosecute this action vigorously.

   136. Superiority, Fed. R. Civ. P. 23(b)(3): Class litigation is an appropriate

method for fair and efficient adjudication of the claims involved. Class action

treatment is superior to all other available methods for the fair and efficient

adjudication of the controversy alleged herein; it will permit a large number of

Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence,

effort, and expense that hundreds of individual actions would require. Class

action treatment will permit the adjudication of relatively modest claims by

certain Class Members, who could not individually afford to litigate a complex

claim against large corporations, like Defendant. Further, even for those Class



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Members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.

   137. The nature of this action and the nature of laws available to Plaintiff

and Class Members make the use of the class action device a particularly efficient

and appropriate procedure to afford relief to Plaintiff and Class Members for the

wrongs alleged because Defendant would necessarily gain an unconscionable

advantage since it would be able to exploit and overwhelm the limited resources

of each individual Class Member with superior financial and legal resources; the

costs of individual suits could unreasonably consume the amounts that would be

recovered; proof of a common course of conduct to which Plaintiff was exposed

is representative of that experienced by the Class and will establish the right of

each Class Member to recover on the cause of action alleged; and individual

actions would create a risk of inconsistent results and would be unnecessary and

duplicative of this litigation.

   138. The litigation of the claims brought herein is manageable. Defendant’s

uniform conduct, uniform methods of data collection, the consistent provisions

of the relevant laws, and the ascertainable identities of Class Members




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demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

   139. Adequate notice can be given to Class Members directly using

information maintained in Defendant’s records.

   140. Unless a Class-wide injunction is issued, Defendant may continue in its

failure to properly secure the Private Information of Class Members, Defendant

may continue to refuse to provide proper notification to Class Members regarding

the Data Breach, and Defendant may continue to act unlawfully as set forth in

this Complaint.

   141. Further, Defendant has acted or refused to act on grounds generally

applicable to the Class and, accordingly, class certification, injunctive relief, and

corresponding declaratory relief are appropriate on a Class-wide basis.

   142. Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the parties’

interests therein. Such particular issues include, but are not limited to:




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a.   Whether Defendant owed a legal duty to Plaintiff and Class

     Members to exercise due care in collecting, storing, using, and

     safeguarding their Private Information;

b.   Whether Defendant breached a legal duty to Plaintiff and Class

     Members to exercise due care in collecting, storing, using, and

     safeguarding their Private Information;

c.   Whether Defendant failed to comply with its own policies and

     applicable laws, regulations, and industry standards relating to

     data security;

d.   Whether an implied contract existed between Defendant on the

     one hand, and Plaintiff and Class Members on the other, and the

     terms of that implied contract;

e.   Whether Defendant breached the implied contract;

f.   Whether Defendant adequately and accurately informed Plaintiff

     and Class Members that their Private Information had been

     compromised;




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   g.     Whether Defendant failed to implement and maintain reasonable

          security procedures and practices appropriate to the nature and

          scope of the information compromised in the Data Breach;

   h.     Whether Defendant engaged in unfair, unlawful, or deceptive

          practices by failing to safeguard the Private Information of

          Plaintiff and Class Members; and

   i.     Whether Class Members are entitled to actual, consequential,

          and/or nominal damages, and/or injunctive relief as a result of

          Defendant’s wrongful conduct.

                          CAUSES OF ACTION

                                COUNT I
                             NEGLIGENCE
              (On Behalf of Plaintiff and All Class Members)

   143. Plaintiff and the Class repeat paragraphs 1 – 142 of the Complaint as if

fully set forth herein.

   144. Upon gaining access to the PII of Plaintiff and members of the Class,

Defendant owed to Plaintiff and the Class a duty of reasonable care in handling

and using this information and securing and protecting the information from

being stolen, accessed, and misused by unauthorized parties. Pursuant to this



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duty, Defendant was required to design, maintain, and test their security systems

to ensure that these systems were reasonably secure and capable of protecting the

PII of Plaintiff and the Class. Defendant further owed to Plaintiff and the Class a

duty to implement systems and procedures that would detect a breach of their

security systems in a timely manner and to timely act upon security alerts from

such systems.

   145. Defendant owed this duty to Plaintiff and the other Class members

because Plaintiff and the other Class members compose a well-defined,

foreseeable, and probable class of individuals whom Defendant should have been

aware could be injured by Defendant’s inadequate security protocols. Defendant

actively solicited clients who entrusted Defendant with Plaintiff’s and the other

Class members’ PII when obtaining and using Defendant’s services. To facilitate

these services, Defendant used, handled, gathered, and stored the PII of Plaintiff

and the other Class members. Attendant to Defendant’s solicitation, use and

storage, Defendant knew of its inadequate and unreasonable security practices

with regard to their computer/server systems and also knew that hackers and

thieves routinely attempt to access, steal and misuse the PII that Defendant

actively solicited from clients who entrusted Defendant with Plaintiff’s and the



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other Class members’ data. As such, Defendant knew a breach of its systems

would cause damage to its clients and Plaintiff and the other Class members.

Thus, Defendant had a duty to act reasonably in protecting the PII of its healthcare

clients’ patients.

   146. The duty included obligations to take reasonable steps to prevent

disclosure of the Private Information, and to safeguard the information from theft.

Defendant’s duties included the responsibility to design, implement, and monitor

data security systems, policies, and processes to protect against reasonably

foreseeable data breaches such as this Data Breach.

   147. Defendant owed a duty of care to Plaintiff and Class Members to

provide data security consistent with industry standards and other requirements

discussed herein, and to ensure that its systems and networks, policies, and

procedures, and the personnel responsible for them, adequately protected the

Private Information.

   148. Defendant’s duty of care to use reasonable security measures arose as

a result of the special relationship that existed between Defendant and its patients,

which is recognized by laws and regulations including but not limited to the FTC

Act, and common law. Defendant was in a position to ensure that its systems



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were sufficient to protect against the foreseeable risk of harm to Class Members

from a data breach.

   149. Defendant had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits

“unfair . . . practices in or affecting commerce,” including, as interpreted and

enforced by the FTC, the unfair practice of failing to use reasonable measures to

protect confidential data.

   150. Defendant’s duty to use reasonable care in protecting confidential data

arose not only as a result of the statutes and regulations described above, but also

because Defendant is bound by industry standards to protect confidential Private

Information that it either acquires, maintains, or stores.

   151. Defendant breached its duties, and thus were negligent, by failing to

use reasonable measures to protect Plaintiff’s and Class Members’ Private

Information, as alleged and discussed above.

   152. It was foreseeable that Defendant’s failure to use reasonable measures

to protect Class Members’ Private Information would result in injury to Plaintiff

and Class Members. Further, the breach of security was reasonably foreseeable




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given the known high frequency of cyberattacks and data breaches in the

healthcare industry.

   153. It was therefore foreseeable that the failure to adequately safeguard

Class Members’ Private Information would result in one or more types of injuries

to Class Members.

   154. The imposition of a duty of care on Defendant to safeguard the Private

Information they maintained is appropriate because any social utility of

Defendant’s conduct is outweighed by the injuries suffered by Plaintiff and Class

Members as a result of the Data Breach.

   155. As a direct and proximate result of Defendant’s negligence, Plaintiff

and Class Members are at a current and ongoing risk of identity theft, and

Plaintiff and Class Members sustained compensatory damages including: (a)

invasion of privacy; (b) financial “out of pocket” costs incurred mitigating the

materialized risk and imminent threat of identity theft; (c) loss of time and loss

of productivity incurred mitigating the materialized risk and imminent threat of

identity theft risk; (d) financial “out of pocket” costs incurred due to actual

identity theft; (e) loss of time incurred due to actual identity theft; (f) loss of time

due to increased spam and targeted marketing emails; (g) diminution of value of



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their Private Information; (h) future costs of identity theft monitoring; (i) anxiety,

annoyance and nuisance, and (j) the continued risk to their Private Information,

which remains in Defendant’s possession, and which is subject to further

breaches, so long as Defendant fails to undertake appropriate and adequate

measures to protect Plaintiff’s and Class Members’ Private Information.

   156. Plaintiff and Class Members are entitled to compensatory and

consequential damages suffered as a result of the Data Breach.

   157. Defendant’s negligent conduct is ongoing, in that it still holds the

Private Information of Plaintiff and Class Members in an unsafe and unsecure

manner.

   158. Plaintiff and Class Members are also entitled to injunctive relief

requiring Defendant to (i) strengthen their data security systems and monitoring

procedures; (ii) submit to future annual audits of those systems and monitoring

procedures; and (iii) continue to provide adequate credit monitoring to all Class

Members.

                                  COUNT II
                          NEGLIGENCE PER SE
                (On Behalf of Plaintiff and All Class Members)




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   159. Plaintiff and the Class repeat and re-allege paragraphs 1 -142 of the

Complaint as if fully set forth herein.

   160. Pursuant to Federal Trade Commission, 15 U.S.C. § 45, Defendant had

a duty to provide fair and adequate computer systems and data security practices

to safeguard Plaintiff’s and Class Members’ Private Information.

   161. Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or

practice by businesses, such as Defendant’s, of failing to use reasonable measures

to protect Private Information. The FTC publications and orders described above

also form part of the basis of Defendant’s duty in this regard.

   162. Defendant violated Section 5 of the FTC Act by failing to use

reasonable measures to protect Private Information and not complying with

applicable   industry    standards.   Defendant’s    conduct      was   particularly

unreasonable given the nature and amount of Private Information it obtained and

stored, and the foreseeable consequences of the Data Breach for companies of

Defendant’s magnitude, including, specifically, the immense damages that would

result to Plaintiff and Class Members due to the valuable nature of the Private

Information at issue in this case—including Social Security numbers.



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   163. Defendant’s violations of Section 5 of the FTC Act constitute

negligence per se.

   164. Plaintiff and Class Member are within the class of persons that the FTC

Act was intended to protect.

   165. The harm that occurred as a result of the Data Breach is the type of

harm the FTC Act was intended to guard against. The FTC has pursued

enforcement actions against businesses, which, as a result of its failure to employ

reasonable data security measures and avoid unfair and deceptive practices,

caused the same harm as that suffered by Plaintiff and members of the Class.

   166. Plaintiff and Class Members are entitled to compensatory,

consequential, and nominal damages suffered as a result of the Data Breach.

   167. Plaintiff seek to remedy these harms on behalf of themselves and all

similarly situated and “impacted” individuals whose Private Information was

accessed during the Data Breach, including: (a) invasion of privacy; (b) financial

“out of pocket” costs incurred mitigating the materialized risk and imminent

threat of identity theft; (c) loss of time and loss of productivity incurred

mitigating the materialized risk and imminent threat of identity theft risk; (d)

financial “out of pocket” costs incurred due to actual identity theft; (e) loss of



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time incurred due to actual identity theft; (f) loss of time due to increased spam

and targeted marketing emails; (g) diminution of value of their Private

Information; (h) anxiety, annoyance and nuisance, (i) nominal damages, and (j)

the future costs of identity theft monitoring.

   168. Moreover, Plaintiff’s and Class Members’ Private Information remains

at risk, so long as Defendant fails to undertake appropriate and adequate measures

to protect Plaintiff’s and Class Members’ Private Information.

   169. Therefore, Plaintiff and Class Members are also entitled to injunctive

relief requiring Defendant to, e.g., (i) strengthen its data security systems and

monitoring procedures; (ii) submit to future annual audits of those systems and

monitoring procedures; and (iii) immediately provide adequate credit and identity

theft monitoring to all Class Members.

                                COUNT III
                        INVASION OF PRIVACY
               (On Behalf of Plaintiff and All Class Members)

   170. Plaintiff and the Class repeat and re-allege paragraphs 1 – 142 of the

Complaint as if fully set forth herein.

   171. Plaintiff and Class Members had a reasonable expectation of privacy in

the Private Information Defendant mishandled.



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   172. As a result of Defendant’s conduct, publicity was given to Plaintiff’s

and Class Members’ Private Information, which necessarily includes matters

concerning their private life such as PII.

   173. A reasonable person of ordinary sensibilities would consider the

publication of Plaintiff’s and Class Members’ Private Information to be highly

offensive.

   174. Plaintiff’s and Class Members’ Private Information is not of legitimate

public concern and should remain private.

   175. As a direct and proximate result of Defendant’s public disclosure of

private facts, Plaintiff and Class Members are at a current and ongoing risk of

identity theft and sustained compensatory damages including: (a) invasion of

privacy; (b) financial “out of pocket” costs incurred mitigating the materialized

risk and imminent threat of identity theft; (c) loss of time and loss of productivity

incurred mitigating the materialized risk and imminent threat of identity theft

risk; (d) financial “out of pocket” costs incurred due to actual identity theft; (e)

loss of time incurred due to actual identity theft; (f) loss of time due to increased

spam and targeted marketing emails; (g) diminution of value of their Private

Information; (h) future costs of identity theft monitoring; (i) anxiety, annoyance



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and nuisance, and (j) the continued risk to their Private Information, which

remains in Defendant’s possession, and which is subject to further breaches, so

long as Defendant fails to undertake appropriate and adequate measures to protect

Plaintiff’s and Class Members’ Private Information.

   176. Plaintiff and Class Members are entitled to compensatory,

consequential, and nominal damages suffered as a result of the Data Breach.

   177. Plaintiff and Class Members are also entitled to injunctive relief

requiring Defendant to, e.g., (i) strengthen its data security systems and

monitoring procedures; (ii) submit to future annual audits of those systems and

monitoring procedures; and (iii) immediately provide adequate credit monitoring

to all Class Members.

                                COUNT IV
               DECLARATORY AND INJUNCTIVE RELIEF
               (On Behalf of Plaintiff and All Class Members)

   178. Plaintiff and the Class repeat and re-allege paragraphs 1 – 142 of the

Complaint as if fully set forth herein.

   179. Plaintiff pursues this claim under the Federal Declaratory Judgment

Act, 28 U.S.C. § 2201.




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   180. Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this

Court is authorized to enter a judgment declaring the rights and legal relations of

the parties and granting further necessary relief. Furthermore, the Court has broad

authority to restrain acts, such as here, that are tortious and violate the terms of

the federal statutes described in this Complaint.

   181. An actual controversy has arisen in the wake of the Data Breach

regarding Defendant’s present and prospective common law and other duties to

reasonably safeguard Plaintiff’s and Class Members’ Private Information, and

whether Defendant is currently maintaining data security measures adequate to

protect Plaintiff and Class Members from future data breaches that compromise

their Private Information. Plaintiff and the Class remain at imminent risk that

further compromises of their Private Information will occur in the future.

   182. The Court should also issue prospective injunctive relief requiring

Defendant to employ adequate security practices consistent with law and industry

standards to protect employee and patient Private Information.

   183. Defendant still possesses the Private Information of Plaintiff and the

Class.




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   184. To Plaintiff’s knowledge, Defendant has made no announcement that it

has changed its data storage or security practices relating to the Private

Information, beyond the vague claim in the Data Breach Letter that it is “further

reinforcing the security of [its] systems.”

   185. To Plaintiff’s knowledge, Defendant has made no announcement or

notification that it has remedied the vulnerabilities and negligent data security

practices that led to the Data Breach.

   186. If an injunction is not issued, Plaintiff and the Class will suffer

irreparable injury and lack an adequate legal remedy in the event of another data

breach at NextGen. The risk of another such breach is real, immediate, and

substantial.

   187. As described above, actual harm has arisen in the wake of the Data

Breach regarding Defendant’s contractual obligations and duties of care to

provide security measures to Plaintiff and Class Members. Further, Plaintiff and

Class members are at risk of additional or further harm due to the exposure of

their Private Information and Defendant’s failure to address the security failings

that led to such exposure.




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   188. There is no reason to believe that Defendant’s employee training and

security measures are any more adequate now than they were before the breach

to meet Defendant’s contractual obligations and legal duties.

   189.   The hardship to Plaintiff and Class Members if an injunction does not

issue exceeds the hardship to Defendant if an injunction is issued. Among other

things, if another data breach occurs at NextGen, Plaintiff and Class Members

will likely continue to be subjected to fraud, identify theft, and other harms

described herein. On the other hand, the cost to Defendant of complying with an

injunction by employing reasonable prospective data security measures is

relatively minimal, and Defendant has a pre-existing legal obligation to employ

such measures.

   190. Issuance of the requested injunction will not disserve the public interest.

To the contrary, such an injunction would benefit the public by preventing

another data breach at NextGen, thus eliminating the additional injuries that

would result to Plaintiff and Class.

   191. Plaintiff and Class Members therefore, seek a declaration (1) that

Defendant’s existing data security measures do not comply with its contractual

obligations and duties of care to provide adequate data security, and (2) that to



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comply with its contractual obligations and duties of care, Defendant must

implement and maintain reasonable security measures, including, but not limited

to, the following:

   a.     Ordering that Defendant engage internal security personnel to
          conduct testing, including audits on Defendant’s systems, on a
          periodic basis, and ordering Defendant to promptly correct any
          problems or issues detected by such third-party security auditors;
   b.     Ordering that Defendant engage third-party security auditors and
          internal personnel to run automated security monitoring;
   c.     Ordering that Defendant audit, test, and train its security
          personnel and employees regarding any new or modified data
          security policies and procedures;
   d.     Ordering that Defendant purge, delete, and destroy, in a
          reasonably secure manner, any Private Information not necessary
          for its provision of services;
   e.     Ordering that Defendant conduct regular database scanning and
          security checks; and
   f.     Ordering that Defendant routinely and continually conduct
          internal training and education to inform internal security
          personnel and employees how to safely share and maintain
          highly sensitive personal information, including but not limited
          to, client personally identifiable information.




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                         PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests

judgment against Defendant and that the Court grant the following:

      A.    For an Order certifying the Class, and appointing Plaintiff and

            her Counsel to represent the Class;

      B.    For equitable relief enjoining Defendant from engaging in the

            wrongful conduct complained of herein pertaining to the misuse

            and/or disclosure of the PII of Plaintiff and Class Members, and

            from refusing to issue prompt, complete, any accurate

            disclosures to Plaintiff and Class Members;

      C.    For injunctive relief requested by Plaintiff, including, but not

            limited to, injunctive and other equitable relief as is necessary to

            protect the interests of Plaintiff and Class Members, including

            but not limited to an order:

            i.    prohibiting Defendant from engaging in the wrongful and

                  unlawful acts described herein;

            ii.   requiring Defendant to protect, including through

                  encryption, all data collected through the course of its



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           business in accordance with all applicable regulations,

           industry standards, and federal, state or local laws;

    iii.   requiring Defendant to delete, destroy, and purge the

           personal identifying information of Plaintiff and Class

           Members unless Defendant can provide to the Court

           reasonable justification for the retention and use of such

           information when weighed against the privacy interests of

           Plaintiff and Class Members;

    iv.    requiring Defendant to implement and maintain a

           comprehensive Information Security Program designed to

           protect the confidentiality and integrity of the PII of

           Plaintiff and Class Members;

    v.     prohibiting Defendant from maintaining the PII of

           Plaintiff and Class Members on a cloud-based database;

    vi.    requiring Defendant to engage independent third-party

           security auditors/penetration testers as well as internal

           security personnel to conduct testing, including simulated

           attacks, penetration tests, and audits on Defendant’s



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           systems on a periodic basis, and ordering Defendant to

           promptly correct any problems or issues detected by such

           third-party security auditors;

    vii.   requiring Defendant to engage independent third-party

           security auditors and internal personnel to run automated

           security monitoring;

    viii. requiring Defendant to audit, test, and train its security

           personnel regarding any new or modified procedures;

    ix.    requiring Defendant to segment data by, among other

           things, creating firewalls and access controls so that if one

           area of Defendant’s network is compromised, hackers

           cannot gain access to other portions of Defendant’s

           systems;

    x.     requiring Defendant to conduct regular database scanning

           and securing checks;

    xi.    requiring Defendant to establish an information security

           training program that includes at least annual information

           security training for all employees, with additional



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           training to be provided as appropriate based upon the

           employees’ respective responsibilities with handling

           personal identifying information, as well as protecting the

           personal identifying information of Plaintiff and Class

           Members;

    xii.   requiring Defendant to routinely and continually conduct

           internal training and education, and on an annual basis to

           inform internal security personnel how to identify and

           contain a breach when it occurs and what to do in response

           to a breach;

    xiii. requiring Defendant to implement a system of tests to

           assess its respective employees’ knowledge of the

           education      programs    discussed   in   the   preceding

           subparagraphs, as well as randomly and periodically

           testing employees compliance with Defendant’s policies,

           programs, and systems for protecting personal identifying

           information;




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    xiv.   requiring Defendant to implement, maintain, regularly

           review, and revise as necessary a threat management

           program designed to appropriately monitor Defendant’s

           information networks for threats, both internal and

           external, and assess whether monitoring tools are

           appropriately configured, tested, and updated;

    xv.    requiring Defendant to meaningfully educate all Class

           Members about the threats that they face as a result of the

           loss of their confidential personal identifying information

           to third parties, as well as the steps affected individuals

           must take to protect themselves;

    xvi.   requiring Defendant to implement logging and monitoring

           programs sufficient to track traffic to and from

           Defendant’s servers; and for a period of 10 years,

           appointing a qualified and independent third party assessor

           to conduct a SOC 2 Type 2 attestation on an annual basis

           to evaluate Defendant’s compliance with the terms of the

           Court’s final judgment, to provide such report to the Court



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                  and to counsel for the class, and to report any deficiencies

                  with compliance of the Court’s final judgment;

     D.    For an award of damages, including, but not limited to, actual,

           consequential, and nominal damages, as allowed by law in an

           amount to be determined;

     E.    For an award of attorneys’ fees, costs, and litigation expenses

           under O.C.G.A. Section 13-6-11 and as otherwise allowed by

           law;

     F.    For prejudgment interest on all amounts awarded; and

     G.    Such other and further relief as this Court may deem just and

           proper.

                      DEMAND FOR JURY TRIAL

     Plaintiff hereby demands that this matter be tried before a jury.

Date: May 16, 2023.                          Respectfully Submitted,

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